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 1
                                  UNITED STATES DISTRICT COURT
 2
             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
 3
   MARIA SCHNEIDER, individually and on
 4 behalf of all others similarly situated;

 5                   Plaintiff,                          CASE NO. 3:20-cv-4423-JD
 6           vs.                                         OKEEFE DECLARATION IN SUPPORT
                                                         OF ADMINISTRATIVE MOTION TO
 7 YOUTUBE, LLC; and GOOGLE LLC;                         FILE UNDER SEAL
 8               Defendants.
     _____________________________________
 9
     YOUTUBE, LLC and GOOGLE LLC;
10
     Counter-Plaintiffs,
11
     v.
12
   PIRATE MONITOR LTD., GÁBOR CSUPÓ,
13 and PIRATE MONITOR LLC,
   Counter-Defendants.
14

15

16           I, Carol L. O’Keefe, declare:

17           1.     I am a partner in Korein Tillery, LLC, co-counsel to Plaintiff and putative class

18 representative Maria Schneider. I make this declaration in support of Plaintiff’s Administrative Motion

19 to File Under Seal filed on April 22, 2021. I have personal knowledge of the facts stated herein and, if

20 called as a witness, I could and would competently testify thereto.

21           2.     Plaintiff has conditionally filed under seal her Letter Motion to Compel dated April 22,

22 2021, which contains or references information which has been designated Confidential by Defendants

23 YouTube, LLC and Google LLC.

24           3.     Plaintiff’s Letter Motion to Compel quotes material that Defendants had redacted in

25 Defendants and Counterclaimants YouTube, LLC and Google LLC’s Confidential Version of

26 Responses and Objections to Plaintiff Maria Schneider’s First Set of Interrogatories, dated December

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28                                              1
     OKeefe Declaration in Support of Administrative Motion to File Under Seal            3:20-cv-4423-JD
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 1 17, 2020. In addition, Plaintiff’s Letter Motion to Compel quotes material from the November 5, 2020

 2 Letter of Lauren Gallo White to Joanna Wright, which was designated Confidential.

 3          4.     I declare under penalty of perjury that the foregoing is true and correct.

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 5          Executed this 22nd day of April, 2021.

 6                                                         /s/ Carol L. O’Keefe_________

 7                                                         Carol L. O’Keefe

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     OKeefe Declaration in Support of Administrative Motion to File Under Seal             3:20-cv-4423-JD
        Case 3:20-cv-04423-JD Document 76-1 Filed 04/22/21 Page 3 of 3




 1                                      CERTIFICATE OF SERVICE

 2
             I hereby certify that a true and correct copy of the foregoing document was filed with the
 3
     Court and electronically served through the CM-ECF system which will send a notification of such
 4
     filing to all counsel of record, including the Designating Parties.
 5
     DATED: April 22, 2021                                    /s/ Carol L. O’Keefe_________
 6                                                            KOREIN TILLERY, LLC
                                                              Carol L. O’Keefe (pro hac vice)
 7                                                            cokeefe@koreintillery.com
                                                              505 North 7th Street, Suite 3600
 8                                                            St. Louis, MO 63101
                                                              Telephone: (314) 241-4844
 9                                                            Facsimile: (314) 241-3525

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     OKeefe Declaration in Support of Administrative Motion to File Under Seal             3:20-cv-4423-JD
